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DECLARATION OF CARISSA FROYUM ROISE
COMES NOW, Carissa Froyum Roise and pursuant to 28 U.S.C. § 1746, declares under
penalty of perjury that the following is true and correct:

1. My name is Carissa Froyum Roise, and I am over 18 years old and have personal
knowledge of the facts as stated herein.

2. Iamamember of the ARC of Iowa.

3. Jam the mother of H.J.F.R., who is 10 years old and in fifth grade and has congenital
central hypoventilation syndrome, which causes problems with breathing and requires
him to use a ventilator when sleeping and sometimes during the day. These conditions
put him at higher risk for severe complications if he were to become infected with
COVID-19.

4. Lalso have two other children who are not disabled and do not have health conditions that
make the them at risk of severe illness from COVID-19—I.W.F.R. who is 12 years old
and in seventh grade, and L.C.F.R., who is 8 years old and in third grade.

_ 5. Because my children are under the age of 12, my children are not eligible to receive any
of the currently authorized COVID-19 vaccines.

6. My children attend school at the Denver School District. We live in Bremer County,
Iowa.

7. My child, H.J.F.R., receives disability supports, services, and accommodations and
requires a one-on-one nurse.

8. The Denver School District had a remote option last year. The Denver School District

for the upcoming school year is not offering a 100% remote learning option. Students
10.

11.

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with extreme medical conditions need to contact the principal for next steps regarding a
medically fragile child’s educational plan for the upcoming school year.

My children went to school in person last year because the school had a mask mandate in
place. When the masked mandate ban went into effect, my children stopped attending
school for the last two weeks because it was too dangerous to go to school with
unmasked students, teachers, and staff considering H.J.F. R.’s medical conditions. We
didn’t want to put H.J.F.R. directly at risk by sending him to school, and we worried the
other two children, if they went to school, could bring home the virus. In-person
instruction provides the best mode of instruction for my child H.J.F.R.’s needs.

At a recent meeting, H.J.F.R.’s health plan was amended to include having small groups
of persons working with my child, H.J.F.R., be voluntarily masked; however, the district
cannot guarantee that all persons working with or coming into contact with my son be
masked. My child’s wearing a mask while masks are optional for staff, teachers, and
children at school is not enough to protect my medically fragile child. He needs all staff,
teachers, and children at the school to wear masks.

At back-to-school night on August 19, 2021, between 90 to 95% of persons were
unmasked, including teachers, staff, parents, and students. School started on August 23,
2021, and only 4 or 5 children out of 20 to 25 children, including H.J.F.R., were wearing
masks in H.J.F.R.’s classroom. Some of H.J.F.R.’s teachers are wearing masks, and
some were not. The children and teachers in H.J.F.R.’s class are not socially distancing.

For L.C.F.R.’s classroom, only about 2 out of 17 children were wearing masks. In
terms of lunch, the students are back to eating in the lunchroom unmasked and not

socially distanced.
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12. I was notified after school had started that there are 9 positive cases of COVID-19 with
staff and students.

13. For this school year, we have made the difficult decision to send our children back to in-
person school. The district is no longer offering an online learning option this year. Both
my husband and I work full-time. Therefore, homeschooling is not an option for our
family.

14. Because of Iowa’s law, my child is having to take unnecessary risks to his health in order
to get an education.

15. Iam seeking to have HF847 blocked so that my school will be able to require universal
masking as necessary to meet its obligations to my child.

I swear under penalty of perjury under the laws of the United States that the foregoing is
true and correct to the best of my knowledge.
Dates this i day of September 2021, at Denver, Iowa.
Casa fer, Keris

Carissa Froyum Roise/ Plaintiff
